    CASE 0:16-cv-03113-ECT-KMM Document 175 Filed 05/08/19 Page 1 of 3



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                                            May 8, 2019
The Hon. Eric C. Tostrud                                          FILED VIA ECF WITH
United States District Court Judge                                PERMISSION
316 N. Robert Street
St. Paul, MN 55101

                  Re:      Mayo Clinic v. United States of America,
                           Court File No. 0:16-cv-03113-ECT-KMM

Dear Judge Tostrud:

The USA’s Statement of Proposed Undisputed Facts (ECF Doc. 155) filed on Friday,
May 3, 2019, violates the Court’s Briefing Order (ECF Doc. 149) in several respects.
Because Mayo must respond to the USA’s Statement by May 24, 2019, Mayo seeks
expedited guidance from the Court about its response.

The Briefing Order required the parties to file statements of no more than 150 paragraphs
“of proposed material facts as to which the moving party contends there is no genuine
issue and that entitle the moving party to judgment as a matter of law.” (Id. (emphasis
added).) The USA’s Statement ignored, inter alia, the materiality requirement of the
Order. It contains 139 numbered paragraphs but the USA cites only 32 in its summary
judgment brief (ECF Doc. 156).

A related issue involves “tables” cited in the USA’s Statement. Paragraphs 131 and 132
generally reference “Table 1” and “Table 2,” respectively, which “summarize[] selected
information from the Form 990s . . .” These paragraphs do not set forth the specific
information that is material, and the USA’s brief relies only on a subset of information
from Tables 1 and 2 (ECF Doc. 156 at 12, 13, and 18). To respond to these paragraphs
requires Mayo to respond to many non-material facts. As Mayo feared when the parties
addressed the USA’s prior request on word-count limits, the USA has dumped immaterial
and cumulative information into its Statement. (See ECF Doc. 146 at 2.)

Moreover, the number of paragraphs in the USA’s Statement is well in excess of the 150
paragraph limit because many violate the “short” numbered paragraph and “single
discrete fact” requirements. For example, paragraph numbers 84, 108, 109, 121, and 125
are two or more pages in length (in multiple single-spaced paragraphs). Even seemingly
shorter paragraphs in the USA’s Statement fail to describe a “single, discrete fact.” (ECF
    CASE 0:16-cv-03113-ECT-KMM Document 175 Filed 05/08/19 Page 2 of 3



Hon. Eric Tostrud
Page 2


Doc. 155 at paragraphs 25, 59, 60, 62, 66, 74, 77, 78, 82, 84, 92, 108, 125, 131, 132,
among many others). The USA further compounds these problems with its use of 33
non-numbered declarative statements throughout its Statement such as “I. Mayo Clinic’s
representations about itself to the public.” (See, e.g., ECF Doc. 155 at 4.) These
statements would seem to require additional responses from Mayo and further cause the
Statement to exceed the 150 paragraph limit.

Under the Briefing Order, Mayo “must file a concise response to the moving party’s
statement of facts” including a response to each paragraph with “specific citations to the
record or applicable legal authorities.” (ECF Doc. 149 at 3.) Mayo would be required to
respond not only to the non-USA cited 107 numbered paragraphs (139–32 = 107) but
also to many paragraphs (including the 32 cited in its summary judgment brief) which are
not “short” and do not “set forth a single, discrete fact” as required by the Order.

It appears that only the paragraphs in the USA’s Statement cited in its summary judgment
brief are those facts on which the USA relies for its summary judgment arguments, i.e.,
the facts which the USA claims are “material.” Mayo proposes that it be required to
respond only to the specific numbered paragraphs in the USA’s Statement which were
cited in the USA’s summary judgment brief. That would help resolve much of the
materiality issue except for paragraphs 131 and 132, containing references to the tables,
as noted above. The single discrete fact problem also still exists for many of the 32
remaining paragraphs. (ECF Doc. 155 at paragraphs 25, 59, 60, 62, 66, 74, 77, 78, 82,
84, 92, 108, 125, 131, and 132). The USA should submit a corrected statement of
proposed undisputed material facts that complies with the Briefing Order within 7 days.

One additional item -- the deadline for the USA to file and to serve its dispositive
motions was Friday, May 3, 2019. On May 3, the USA apparently conventionally filed
20 or 21 video and audio files, a DVD, and a 100+ page book with the Court
Administrator. Under the Court’s Civil Electronic Case Filing Procedures Guide, the
USA’s conventionally filed materials had to “be served conventionally, with a copy of
the NEF, by the filer on all parties who are entitled to service.” However, rather than
serve Mayo’s Minneapolis counsel (located four blocks from the Minneapolis court), it
choose to send for delivery on Monday, May 6, copies of the conventionally-filed
exhibits without the NEF to Mayo’s counsel in Chicago. Those exhibits were not timely
served as service via mail adds three additional days under Fed. R. Civ. P. 6(d). Mayo
seeks permission to file a motion to strike the conventionally-filed exhibits from the
record.
    CASE 0:16-cv-03113-ECT-KMM Document 175 Filed 05/08/19 Page 3 of 3



Hon. Eric Tostrud
Page 3


                                           Respectfully submitted,

                                           s/ Annamarie Daley

                                           Annamarie Daley
                                           Counsel for Plaintiff Mayo Clinic

cc (via ECF filing): Curtis Weidler, Samuel Robins and Eric Aberg, counsel for the USA
